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                                                                            E ILEI)
                               IN THE UNI]ED STA]ES DISTRICTCOURT
                                                                                    FEBlszoztT*{
                            FOR TI{E NORTHERN DISTRTCTOF ILLTNOIS         Ud
                                                                          -     THOMASG BRUTON
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                                                                           ,- CLERK, U.S. DISTRTCIGOU RT
                                        EASTERN DIVISION

     GREGORY DITCH,

     PLAINTIFF                                      124+v-01245
                                                    Judge Jeremy C. Daniel
                                                    Magistrate Judge Beth W. JanE
                                                    Cat.ZlRandom
     VS.

     MELISSA OSKROBA,                                JURY TRIAL DEMANDED

     JENNIFER BAUMGARTNER,

     STEPHANIE POSEY,

     BOB ROSS,

     DEFENDANTS



    PATD
     # loooZ(S,e.
RECEIPT
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          FEi-, 13 21,24

  THOMAI} G. BRUTON
CLERK, U.S. DISTRICT COURT
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                                           The Complaint




COMPLAINTNOW COIvIES the Plaintiff, Gregory Ditch ("laintiff), pro se, and for his

Corylaint against Defendants, Melissa Oslaoba (Osknoba), JennifoBaumgartner @aurngartner),

Stephanie Posey (Pos-ey), Bob Ross (Ross), (collectively "Defe,ndants'), and states as follows:




                                 Jurtdlctlon, Venue, and Partes


l. This corylaint is brought by Plaintiff to seekredress and damages, under42


U.S.C. $1983 and Illinois cormnon law, forLibel and Slanderand proximately


rwilting ftom the unreasonable, deliberately indifferent, intelrtional and


conscie,nce shocking conduct of the Defe,ndants idelrtified heretq which conduct



was in violation of the constitutional and state corlmon law rights of the Plaintiff,


Gregory Ditch-


                                      Jurisdiction & Venue:
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2. This Court has jurisdiction over the subject matter of the federal claims in this action under the

authority of 42 U.S.C.$1983 for claims that arise under the Constitution and laws of the United

States of



America. Tampam Farms, Inc. v. Supervisor of Assessments for Ogle County, 27lIll.App.3d798,

803 (2ndDist.1995).



                                The Facts Common To All Counts


3. Plaintiff is a Kendall County, lllinois resident. He was and at all times relevant a career

technology teacher at Napenrille North High School (NNHS) in Naperville Community School

District 203 @istrict).


4. At all times relevant, Melissa Oskroba (Oskroba) was Depart Coordinator at NNHS and The

Plaintiff's direct supervisor acting under the color of law. Melissa Oskroba is being sued in her

individual capacity.


5. At all times relevant, Jennifer Baumgartner (Baumgartner) was a Dean of Student Activities and

an adminislplor at NNHS acting under the color of law. Jennifer Baumgartner is being zued in her

individual capacity.


6. At all times relevant, Stephanie Posey @osey) was the Principal at NNHS and acting under the

color of law. Stephanie Posey is being sued in her individual capacity.


7. At alltimes relevant, Bob Ross (Ross) was a Chief Human Resources Officer at District 203

and acting under the color of law. Bob Ross is being sued in his individual capacity.
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                                         Statement of Claim


8. On or about April3, 2023T'he Defendant, Naperville Community School District 203 (The

District), placed The Plaintiff, Gregory Ditch, under official investigation. Defendant's Stephanie

Posey (Posey) and Robert Ross (Ross) were assigned by The District to oversee the investigation

into The Plaintiff. On April sfo,2023 Defendants Melissa Oskroba (Oskroba) and Jennifer

Baumgartner (Baumgartner) called The Plaintiff to a meeting inside the Student Activities office.

The pretext for the meeting wiu an upcoming car show that The Plaintiff was planning as a

fundraiser forthe Naperville North High School Automotive Progr:am.




9. The Plaintiff requested union representation at the April 5,2023 rneeting and he was denied

having a union representative present during the meeting. Baumgartner and Oskroba assured The

Plaintiff that the meeting was not related to the The District's investigation and a union

representative would not be allowed at the meeting as it was to discuss an upcoming car show at

Naperville North High School.


10. On April4, 2023, The Plaintiff had contacted Ross Berkley, local president of the Naperville

Unit Education Association 203 (NUEA), the union that represents teachers in Naperville

Community Unit School District 203. Ross Berkley confirmed in advance with Baumgartnerthat

the April 5,2023 meeting was not part of The District investigation.


11. Upon arrival to the April 5, 2023 meetng, Baumgartner and Oskroba were in waiting in the

Student Activities office for The Plaintiff. Prior to answering questions or talking to either

Oskroba or Baumgartner, The Plaintiff asked if he would be able to have a union representative
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present. Both Oskroba and Baumgartner assured The Plaintiff that this meeting was not about The

District investigation and both Baumgartner and Oskroba had no knowledge of The District

investigation. NUEA President Ross Berkley also confirmed that this meeting would not be

related an investigation or discipline, and he would not be in attendance.


12. Once the April 5,2023 meeting commenced, Oskroba and Baumgartner asked The Plaintiff

questions about The District's investigation into The Plaintiff. At this point The Plaintiff told

Defendants Oskroba and Baumgartner he was not allowed to answer questions and he felt it would

be appropriate to have union representation. Defendants Oskroba and Baumgartner became

aggressive with The Plaintiff by raising their voices and telling The Plaintiff that they were friends

and he owed them explanations, Defendants Oslaoba and Baumgartnerboth assured The Plaintiff

whatever they spoke about in the meeting was completely confidential.


13. Towards the end of the Aptil 5, 2023 meetngDefendant Oskrcba told The Plaintiff that she

(Oskroba) provided incorrect information to Posey about the funding of a project The Ptaintiff was

working on in the Naperville North High School Automotive Shop. Defendant Oskroba,

accidentally revealed that she was indeed part of The District investigation after representing

herself to The Plaintiff as not involved. Defendant Baumgartner then told The Plaintiff that both

(Oskroba and Baumgartner) believed that school money was used on The Plaintiff's project and

had given Defendant Posey information that would have indicated The Plaintiff used school funds

and grant money to finance one of his personal projects.


14. Several meetings prior to the investigation took place with Defendants Oshoba and

Baumgartnsl suflining the funding for this project and it was always clear that no school funding

was going to be used to benefit The Plaintiff on his personal project.
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15. Oskroba and Baumgartner instructed The Plaintiff to submit documentation to Posey that

proved that The Plaintiff used his own money for the project in question. This action gave

reasonable cause for The Plaintiff to believe that Defendants Oskroba and Baumgartner were

involved in The District's investigation.


16. The pretextual context of the April 5, 2023 meeting between The Plaintiff and Oskroba and


Baumgamter was to discuss an upcoming car show fundraiser for The Plaintiffs automotive class.

Defendants Oskroba and Baumgartner focused on details of The District's investigation for well

over an hour and only asked that The Plaintiff hand over a list of his sponsors and donors

regarding the car show. Fewer than 10 minutes were spent discussing a car show in a meeting that

lasted well over an hour.


                            Collusion and Conspiracy By The Defendants


17. Prior to the April 5, 2023 meetng, Defendant Baumgartner sent a list of items for The Plaintiff


to bring with him when they planned to meet. The items Baumgartner asked The Plaintiff to bring

to the meeting were all related to The District's investigation. Baumgartner claimed that this was

an elror, and she was not involved in investigating The Plaintiff and sent a retraction email asking

only for papenvork with the narnes of donors and sponsors.


18. On April5, 2023, The Plaintiff sent an email to Posey, Ross, Baumgartner, Oskroba, and Ross

Berkley explaining what happened during the meeting and provided receipts and documentation

related to the project. The Plaintiff explained that he believed a misunderstanding had occurred.

Defendant Posey responded to The Plaintiff s email explaining there is not a misunderstanding,

the information sent were all facts and part of The District's investigation (paraphrased).
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 19. The April 5, 2023 meetngwas orchestrated by Posey and Ross in retaliation to The Plaintiff


having the president of his union in attendance to at the April 3,2023 investigatory meeting. In

order to ask questions and obtain infomration for The District investigation, it was necessary for

Posey and Ross to instnrct Baumgartner and Oskroba to hold a meeting under the pretext of a car

show and prevent The Plaintiff fromhaving union representation present.


20. Posey and Ross knew from an email they received from The Plaintiff on the afternoon of April

5,2023 that a meeting had taken place where Baumgartner and Oskroba asked related to The

District's investigation. Neither Defendant Posey nor Defendant Ross denied knowledge of the

April 5, 2023 meetngnor did they reject information that would give them an illegal advantage in

conducting their investigation into The Plaintiff.


21. On or about April6, 2023, Defendant Baumgartnerbegan qpeaking to students a1d lslling the

students that she @aurngartner) was working on behalf of Defendant Posey to obtain information

about The Plaintiff that would assist in The District's investigation.



                        Ilarassment, Humifation, and Retaliation Efforts


22. On or about April 10, 2023, Defendant Baumgartner came to see The Plaintiff in his classroom

and told him that Defendant Posey is cancelling his benefit car show and would instead have a car

show benefiting the NNHS Student Govemment Association (SGA) and all sponsorship and

money raised by The Plaintiff would get transferred to SGA. !6umgartnerexplained that Posey's

reasoning was that The Plaintiff would poorly represent the school and Posey was concemed The

Plaintiff may speak to media.
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23. Defendant Oskroba entered The Plaintiffs classroom on April I1,2023 with students present

and proceeded to go into a tirade by berating The Plaintiff. Oskroba was yelling and screaming at

The Plaintiff in the presence of students while The Plaintiff was overseeing students working in

cooperative leaming groups. Oskroba made several accusations during her tirade about The

Plaintiff not doing his job and not supervising his students while The Plaintiff was working with

students in small groups in an advanced Automotive III-B class.


24.Dvirrirg an April 1I,2023 email to Defendants Oskrobq Posey, Baumgartner, and Ross; The

Plaintiff sent a letter of resignation explaining he was moving on to other opportunities. In reality,

Defendant Oslaoba humiliated and discredited The Plaintiff in front of his students. On April 12,

2023 Defendant Baumgartner replied with a one-word email to Defendant Posey by stating

"Wow!".


25. The Plaintiff was absent from work on April 15,2023 for medical treatment when Defendant

Oskroba came back to the same Automotive lIl-B class where she had a tirade just days before.

Oskroba began asking students questions regarding The Plaintiffs personal belongings and

personal affairs. Just days prior in the April 5,2023 meeting in the Sfudent Activities office,

Oskroba denied taking any part in The District's investigation, but she took the opportunity to

speak to students in The Plaintiffs classroom to gain insight that would benefit The District into

the investigation into The Plaintiff.


26. After April 15, 2023, Defendant Oslmoba made multipte comments intending to harass and

annoy The Plaintiff by making several visits to his classroom to discuss his teaching practices and

commitment to students. The Plaintiff received satisfactory evaluations and had never received

any reprimands in the past regarding his ability to teach orperform in the classroom.
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27 .   \\e Plaintiff was part of a 2 year long initiative write an automotive curriculum for The
District. To furtherharass and humiliate, Defendant Oskroba informed The Plaintiff he was no

longer allowed to provide input into the curriculum project. Defendant Oskroba claimed that

Defendant Posey did not trust The Plaintiff and did not want him to help complete the cumiculum

project.



28. In a May 8,2023 meeting Defendant Oslroba still denied any knowledge or participation into

The District's investigation into The Plaintiff. Defendant Oskroba was clearly attempting to

minimize or conceal her role to obtain infomration against The Plaintiff to further The District's

investigation.


             Naperville Unit Education Association 203 Collective Bargaining Violations


29. Section 2.2 of the NUEA 203 collective bargaining agreement entitled The Plaintiff the right

to representation during questioning pertaining to an investigation. Defendants Oskroba and

Baumgartner violated this section of the NUEA 203 collective bargaining agreement.


30. Defendants Posey and Ross violated section 2.3 of the NUEA 203 collective bargaining

agreement by placing a disciplinary action in The Plaintiffs file. The disciplinary action and

placement of evidence of discipline in The Plaintiffs personnel file is directly related to

information obtained by acts of conspiracy performed by The Defendants.


31. Section 2.7 of the NUEA 203 collective bargaining agreement entitled The Plaintiff the right

to fair discipline. The Defendants worked in concert to obtain information during the April 5,

2023 meetng to obtain information that would determine what discipline to impose on The

Plaintiff.
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              District Negtigent For Lack of Written Procedures and Guidelines


32.\\e District itself is negligent for not having published procedures and guidelines for
conducting an investigation or what employees can expect during an investigation. Referring to

the Code of Conduct for teachers and educators and policies published by the Naperville

Community Unit School District 203 Board of Education, there is no formal format or procedure

for administrators to follow when investigating a staff member.


33. The District lacks transpaxency and accountability before, during, and after an investigation

and staff members have no level of expectation on uniformity while they are being questioned.

This lack of written procedure gives rise to unlawful and unethical behavior and standards and a

perception of unlimited authority to those conducting investigations.



                                               CountI


                         29 U.S. Code $ 158(a)(1) - Unfair labor practices



34. Defendants Oskroba and Baumgartnermisrepresented the purpose of the Api15,2023

meeting to the The Plaintiff and The Plaintiffs union representative.


35. Defendants Oskroba and Baumgartner denied The Plaintiff the right to a union representation

for a meeting that was related to The Plaintiffs investigation.


36. Defendents Oskroba and Baumgartner coerced The Plaintiff into answering questions without

the legal right to union representation.
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37. As a direct and proximate result of said unlawful ernployment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered hunriliation, degradation,

emotional distress, and other consequential damages. The Defendants have collectively injured

the Plaintiffs reputation and permanently impacted his future ernployability by tarnpering and

interfering with an investigation. The Defendants have collectively injured the Plaintiffs

reputation and permanently impacted his future employability by tampering and interfering with

an investigation.



                                              Count II


    29 U.S. Code $ 157 - Rrght of employees as to organization, collective bargaining, etc.


38. The Defendants collectively retaliated against The Plaintiff for having union participation at

his April 3,2023 meeting with Defendants Posey and Ross.


39. The Defendants collectively conspired to deny The Plaintiff the freedom and ability to

participate in union representation during the April 5,2023 meeting involving Defendants

Oskroba and Baumgartner.



40. Defendants Oskroba, Baumgartner, Posey, and Ross violated the NUEA 203 collective

bargaining agreement.


41. The District did not take reasonable attempts to ensure that the rights of its employees to

participate in union activities were protected and unencumbered.


42. As a direct and proximate result of said unlawful enployment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,
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emotional distress, and other conseque,ntial damages. The Defendants have collectively injured the

Plaintiffs reputation and permanently urpacted his future employability by tarqpering and

interfering with an investigation.


                                               Count III


              Retalietory Discrimination - Title VII of the Civil Rights Act of 1964


43. The Defendants acted willfully and negligently in concert to retaliate against The Plaintiff for

invoking his right to union representation.


44.1\e Defendants actions were taken with a willful and wanton disregard to Gregory Ditch's

rights.


45. The Plaintiff was removed from a curriculum initiative and had his car show canceUed in

retaliation to his request for union representation.


46. As a direct and proximate result of said unlawful employment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and other consequential damages. The Defendants have collectively injured

the Plaintiffs reputation and pemranently impacted his future employability by tampering and

interfering with an investigation.


                                              Countw

                  42 U.S. Code $ 3617 - Inter{erence, coercion, or intimidation
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47. Defendants Oskroba, Baumgartner, Posey, and Ross did interfere with The Paintiffs rights to

union reprcsentation during the April 5,2023 meeting in the Student Activities office by

informing The Plaintiffs union representative that the meeting was not part of The District's

investigation.


48. Defendants Oskroba and Baumgartner denied The Plaintiff access to union representation

when Defendants Oslrroba and Baumgartnertold The Plaintiff the April 5,2023 meeting was not

part of The District's investigation into The Plaintiff.


49. Defendants Oskroba and Baumgartnerutilized power i6foalance with their authority over The

Plaintiff by demanding he answer about The District's investigation. The Defendants coerced The

Plaintiff by telling him that everything discussed would be between friends and continued to

pressure The Plaintiff was discuss The District's investigation.



50. The District did not make reasonable attempts to ensure that members of the administration

did not interfere, coelce, or intimidate members of the union.


51. As a direct and proximate result of said unlawful employment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and other consequential damages. The Defendants have collectively injured the

Plaintiffs reputation and permanently impacted his future employability by tampering and

interfering with an investigation.


                                               CountV


                                 18 U.S.C. $ 2 Aiding and Abetting
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52. Defendants Posey and Ross aided and abetted Defendants and Oskroba and Baumgartner in

setting up a meeting on April 5,2023 to knowingly deprive The Plaintiff of his right to union

representation.


52. Defendants Oksroba and Baumgartner worked in concert with Defendants Poesy and Ross to

interview The Plaintiff and deprive The Plaintiff of his right to union representation during the

April 5, 2023 meetng.


53. Defendants Posey and Ross were the direct beneficiaries of information illegally obtained by

Defendants Oskroba and Baumgartner during the April 5,2023 meeting involving The Plaintiff in

absence of union representation.



54. The District did not provide proper protection against administrators interfering, coercingo and

intimidating employees attempting to exercise rights in their collective bargaining agreement.


55. As a direct and proximate result of said unlawful employment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and otherconsequential damages. The Defendants have collectively injured the

Plaintiffs reputation and permanently impacted his future employability by tampering and

interfering with an investigation.




                                            Count VI


                          18 U.S. Code $ 24lConspiracy Against Rights
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56. Defendants Oskroba, Posey, Ross, and Baumgartner did work in concert to deprive The

Plaintiff against his right to union representation during an investigation during the April 5,2023

meeting in the Student Activities office.


57. Defendants Oskroba and Baumgartnerpresented the April 5,2023 meeting as not related to

The District's investigation. At the end of the meeting on April 5,2023 Defendants Oskroba and

Baumgartner did disclose to The Plaintiff that they had a prior conversation with Defendant Posey

regarding The District's investigation.


58. Defendants Oskroba" Baumgartner, Posey, and Ross conspired against The Plaintiff by

arranging a meeting on April 5,2023 that would deny The Plaintiff the right to union

representation when questioned about The District's investigation.


59. As a direct and proximate result of said unlawful onployment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and other consequential damages. The Defendants have collectively injured

the Plaintiffs reputation and pemranently impacted his future emptoyability by tampering and

interfering with an investigation.




                                            Count VII


                          420 U.S.25l-Violation of Weingarten Rights


60. Defendants Oskroba, Baumgartner, Posey, and Ross did work in concert to violate The

Plaintiff's right to union representation during an April 5,2023 meeting.
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61. The Plaintiff was entitled to union representation on the April 5,2023 meeting where Oslaoba

and Baumgartner elicited facts to advance The District's investigation into The Plaintiff.


62. T\e Ptaintiff and his union representative asked for union attendance on the Apn15,2023

meeting. Defendants Oskroba and Baumgartner denied the union access by claiming this meeting

was not part of the investigation.



63. Defendants Oskroba and Baumgartner knowingly provided false information to The Plaintiff

regarding the purpose of the April5, 2023 meeting.



64. Defendants Posey and Ross were complicit in knowingly accepting information obtained

from the April 5, 2O23 meetmg to use as against The Plaintiff to forward The District's

investigation.



65. Defendants Posey and Ross did not intervene or attempt to reuredy the situation with The

Plaintiff or union.


66. As a direct and proximate result of the said unlawful employment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and other conseque,ntial damages. The Defe,ndants have collectively injured the

Plaintiffs reputation and permanently impacted his futue employability by tampering and

interfering with an investigation.


                                            Count VIII


                             National Labor Relations Act Section 7
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67. Defendants Oskroba and Baumgartner violated Section 7 of NLRA by preventing The

Plaintiff rights defined in his collective bargaining agreement.


68. Defendants Posey and Ross violated Section 7 of the NLRA bypreventing The Plaintiff

rights defined in his collective bargaining agreement.


69. The Defendants did work in concert to deny The Plaintiff rights entitled by his collective

bargaining agreement.


70. As a direct and proximate result of the said unlawful employment practices and in disregard of

Gregory Ditch's rightr and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and other consequential damages. The Defendants have collectively injured the

Plaintiffs reputation and permanently impacted his future employability by tampering and

interfering with an investigation.




                                               Count IX


                                     25 CFR $ 11.443 - Harassment


71. Defendant Oskroba did engage in harassment of The Plaintiff during The District's

investigation. Defendant Oskroba continuously and repeatedly notified The Plaintiff of his

professional duties without cause or reason.
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72. Defendant Oskroba violated section 2.7 of theNUEA 203 collective bargaining agreement

on April 11,2023 by knowingly entering The Plaintiffs classroom to reprimand him and

humiliate him in front of students.


73. Defendant Posey intended to humiliate and cause embarrassment to The Plaintiff by

removing him from the curriculum initiative and cancelling a widely publicized car show.


74. As a direct and proximate result of the said unlawful employment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and other consequential darnages. The Defendants have collectively injured the

Plaintiffs reputation and permanently impacted his future employability by tampering and

interfering with an investigation.



                                             CountX

              FOURTEENTH AMENDMENT VIOLATTON - 42 U.S.C. 91933


           Executfun or Enforcement of Laws - Individual & Conspiracy Liability


75. On or about April5, 2023, the Defendants, Melissa Oskroba, Jennifer Baumgartner,

Stephanie Posey, and Bob Ross, accomplished an unlawful rezult through individual andlor

concerted action, in that they agreed, through implicit or explicit means, to engage in extreme

and outrageous conduct in the execution of violating The Plaintiffs rights to union

representation during an investigatory hearing or interview.
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76. Defendant Bob Ross unfairly kept record of a discipline in The Plaintiff s personnel fiile that

was obtained through the results of extreme and outrageous conduct by The Defendants working

in concert.


77. As a direct and proximate result of the said tmlawful employment practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and otherconsequential damages. The Defendants have collectively injured

the Plaintiffs reputation and permanently impacted his future employability by tampering and

interfering with an investigation.


                                            CountXI

              FOURTEENTH AMENDMENT VTOLATION - 42 U.S.C. $1983


                  Interference & Conspiracy Liability / Failure to Intervene


78. Defendants Posey and Ross were made aware of the April 5, 2023 meetng between The

Plaintiff and Defendants Oskroba and Baumgartner in the Student Activities office by an email

sent by The Plaintiff. Rather than intervening and correcting the actions of an improper and

inappropriate meeting, Defendant Posey accepted information solicited by Defendants Oskroba

and Baumgartner from the Plaintiff.


79. As a direct and proximate result of Defendants Posey and Rosy failure to intervene, The

Plaintiffls personnel file has an unsatisfactory disciplinary notice. The Defendants have

collectively injured the Plaintiffs reputation and permanently iryacted his future employability

by tampering and interfering with an investigation.
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                                             CountXII

                               Fabe Light and Invasion of Privacy


80. Defendant Poseyportrayed The Plaintiff as incorryetent and incapable by cancelling his

benefit car show.


81. Defendant Posey portrayed The Plaintiff in a false and negative light to thepubtc raising

mary questions and not allowing The Plaintiff to respond to members of the community as to

why his annual belrefit event was cancelled.


82. Defendant Oslaoba portrayed The Plaintiff in a false light in front of his students when she

went into a tirade about his teaching abilities during an active class.


83. As a direct and proximate result of the said unlawful employnent practices and in disregard of

Gregory Ditch's rights and sensibilities, Mr. Ditch has suffered humiliation, degradation,

emotional distress, and otherconsequential damages. The Defendants have collectively injured

the Plaintiffs reputatiou and permanently impacted his future employability by tampering and

interfering with an investigation.




                                     PRAYER T'OR RELIEF

WHEREFORE, Plaintiff Ditchprays that this Court:


84. Enter judgment in favor of Mr. Ditch and against the Defendant for violation of Mr. Ditch's

Rights underNLRB Section T,Title VII, and 42 USC 1983.


85. Declarc that the actions of the Defendant constituted unlawful retaliation, and harassment.
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86. Award Mr. Ditch cory€nsatory daurages, including, but not limited to,lost wages and

benefits, in such amormt as will reasonably compensate him forhis losses, 41d damages for

emotional distress;


87. Awad Mr. Ditch punitive darnages in zuch amount as the Court deems propes


88. Award Mr. Ditch his costs, attorneys' fees, and non-taxable expenses in this action; and


89. Grant Mr. Ditch zuch other and firther relief as the Court deems equitable and just.


                                          RY DEMANI)


Plaintiff Gregory Ditch hereby demands triat by jury pursuant to Fede,ral Rule of Civil Procedure

38(b) on all issues so triable.

Respectfu lly Submitted,




/slGregory Ditch

Pro Se

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Oswego, lL 60543
Texasrac er21 @yahoo. corn
281-221-0996
